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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

KAREN TATUM,                                      )
                                                  )
            Plaintiff,                            )
                                                  )
      vs.                                         )           Case No. 4:23 CV 1219 RWS
                                                  )
ILLINOIS CENTRAL SCHOOL BUS LLC                   )
a/k/a NORTH AMERICA CENTRAL                       )
SCHOOL BUS LLC, et al.,                           )
                                                  )
            Defendants.                           )

                                MEMORANDUM AND ORDER

       After due consideration,

       IT IS HEREBY ORDERED that plaintiff’s motion to change the nature of suit code from

442 to 445 [120] is granted, and the Clerk of Court shall update the docket sheet to reflect the

change. To the extent the motion [120] seeks additional relief, it is denied.

       IT IS FURTHER ORDERED that plaintiff’s motion for additional copies of all 123

documents filed in this case [121] is denied, as the docket sheet reflects that plaintiff has already

received copies of the documents by mail and she is not entitled to numerous free copies of

documents, most of which she filed. To the extent the motion [121] seeks additional relief, it is

denied, as the Court does not provide “updates” to parties in cases. Additional motions will be

ruled if filed, but simply stating an intention to file a motion does not mean that such a motion is

properly before the Court at this time.
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       IT IS FURTHER ORDERED that plaintiff’s motion for copies [122] is denied as

duplicative and for the same reasons set out above.

       IT IS FURTHER ORDERED that plaintiff shall file any opposition to defendant’s

motion to clarify its proper name [118] in accordance with the time limits set out in the Court’s

local rules or the motion will be granted without objection.




                                             RODNEY W. SIPPEL
                                             UNITED STATES DISTRICT JUDGE

Dated this 2nd day of January, 2025.




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